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                          EXHIBIT A
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          Re:     Apple Inc. v. Corellium, LLC, No. 19-cv-81160 (S.D. Fl.)

                           CORELLIUM CONFIDENTIAL MATERIAL
                               CORELLIUM AEO MATERIAL

   Dear Justin:

            We write to identify ongoing and serious deficiencies in Corellium’s discovery responses
   and productions. Initial expert reports have already been submitted, depositions begin next
   week, and discovery closes entirely in less than six weeks. Yet Corellium still has not provided
   critical information or complied with the Court’s orders in this case. Corellium must correct
   these deficiencies immediately.

           We have discussed many of these points extensively by telephone, but, to date, they have
   not been adequately addressed. Accordingly, we detail them again below, and reiterate our
   intention to address promptly with the Court any failures that continue to be un-remedied by
   Corellium.

   I.     CORELLIUM’S FAILURE TO PRESERVE EVIDENCE REGARDING
          PREVIOUS VERSIONS OF THE CORELLIUM APPLE PRODUCT

           Corellium has utterly failed to produce documents and information adequate to delineate
   the features in each version of its product, and Corellium’s statements to date indicate that it may
   be unable to produce at least some of this information because Corellium cannot revert its system
   to a previous version. Corellium has released at least     different versions of the Corellium
   Apple Product between                    and                , including at least new versions
   since the date this suit was initiated. See Corellium’s 3d Am. Interrog. Resp. (Feb. 27, 2020) at
   4–10. In at least some previous versions of the Corellium Apple Product, when a user of the
   cloud-based version was creating a new device, he or she would be presented with a series of
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   Apple devices and versions of iOS to choose from. See https://www.youtube.com/watch?v=
   6rmTfmdUIVY at 1:08–1:55; https://www.youtube.com/watch?v=9sZZZhPnunY at 2:35–
   2:41. Additionally, at least some previous versions of the Corellium Apple Product provided the
   option for a user to “Copy Previous Install,” which allowed a user to “Clone a freshly restored
   state of one of [the user’s] other devices.” See https://www.youtube.com/watch?v=
   6rmTfmdUIVY at 1:38.

           Sometime in early February 2020, Corellium modified the cloud-based version of the
   Corellium Apple Product so that the Corellium Apple Product no longer displays the menu of
   Apple devices and versions of iOS. See Hearing Tr. (Feb. 27. 2020) at 29:14–30:9. In the
   current version, the user must upload her own IPSW if she wants to create a virtual device
   running iOS—no Apple products are offered to the user by default anymore. See Hearing Tr.
   (Feb. 27. 2020) at 30:11–31:9; Nieh Report ¶¶ 201–208. Corellium’s interrogatory responses
   confirm that Corellium changed its product in material ways in the midst of this litigation. In
   response to an interrogatory requesting a description of “the functional flow” for each version of
   the Corellium Apple Product, Corellium’s Second Amended Response on February 24, 2020
   stated: “

   Corellium’s 2d Am. Interrog. Resp. (Feb. 24, 2020) at 12; see Corellium’s Am. Interrog. Resp.
   (Jan. 16, 2020) at 12 (same); Corellium’s Interrog. Resp. (Nov. 18, 2019) at 12 (same).
   However, Corellium’s response changed just three days after it served its second amended
   interrogatory responses.1 Corellium eliminated its previous description of the options presented
   to the user and instead stated:
                                      .” Corellium’s 3d Am. Interrog. Resp. (Feb. 24, 2020) at
   12. Now,
                 Id. at 13. Counsel for Corellium admitted that going back to any given version of
   the Corellium Apple Product is “not something that can be implemented,” because even if the
   system was reverted back to a previous version, counsel could not “even say that it’s going to
   work properly.” Hearing Tr. (Feb. 27. 2020) at 33:2–19.

           Because Corellium has made material changes to the product at issue in this litigation and
   has not provided Apple with access to the previous versions of the product, and has likewise not
   provided Apple with Corellium’s full code repository, including the history of all code changes,
   Apple is unable to determine exactly when these material changes occurred, or what source code
   is associated with the changes. The prejudice resulting to Apple due to Corellium’s conduct is
   substantial. See Coal. Am., Inc. v. Arlotta, No. 1:03-cv-4012, 2008 WL 11320050, at *3–4 (N.D.
   Ga. Mar. 31, 2008) (modification of source code such that a comparison between two versions of
   the software was “impossible” deprived the plaintiff “of the opportunity to examine the evidence
   most critical to its claims” and constituted spoliation of evidence). Indeed, because the source
   code Corellium has produced is without any contextual information at all, it is impossible for
   Apple to even determine which single version (of more than ) of the Corellium Apple Product
   such code represents. See Section II, infra.

   1
     Corellium has not provided verifications for either its second or third amended interrogatory
   responses. These also must be provided immediately.

                                                   2
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                              CORELLIUM AEO MATERIAL

          Moreover, because Corellium has only provided Apple with access to the most recent
   version of the cloud-based Corellium Apple Product, Apple is also unable to examine the
   operation of the product to determine whether any other features have changed over time, or
   what features differ with respect to versions of the on-premises Corellium Apple Product. See
   Nieh Report ¶¶ 186, 202–208, 230. Corellium’s failure to preserve the operation of its product
   severely limited Apple’s expert’s ability to review the Corellium Apple Product. As just one
   example of the adverse impact of Corellium’s acts on Apple, Corellium’s expert was able to
   review at least two versions of the cloud-based Corellium Apple Product, one of which appears
   to have been a version prior to the most recent change, while Apple’s expert was limited to
   viewing only the most recent version. Compare Olivier Report ¶¶ 54–58 with Nieh Report
   ¶¶ 201–208.

           While Apple remains hopeful the parties can find a resolution to address this issue, the
   significant prejudice to Apple from Corellium’s actions increases every day Corellium fails to
   provide Apple with full access to the prior versions of the Corellium Apple Product, as well as
   documents and information about all versions of the Corellium Apple Product. Apple reserves
   all rights and remedies available to it to address the apparent spoliation of evidence here,
   including the right to seek fees, sanctions, and other relief associated with Corellium’s failure in
   this regard. See Keithley v. Home Store.com, Inc., No. 03-cv-04447, 2008 WL 3833384, at *16–
   20 (N.D. Cal. Aug. 12, 2008) (“engag[ing] in a large scale transfer of source code to a new
   source code control system without taking adequate precautions to safely maintain the older
   information” was “reckless and egregious discovery misconduct,” warranting sanctions, fees,
   and an adverse instruction).

   II.       CORELLIUM’S DEFICIENT SOURCE CODE PRODUCTION

           Corellium’s source code production to date has been deficient in numerous respects. The
   source code Corellium has produced was not contained in a software repository and, as a result
   and as explained further below, does not comply with the plain language of Apple’s Requests for
   Production (“RFPs”), the governing Protective Order (ECF No. 50), the Federal Rules of Civil
   Procedure, or Counsel’s own agreement at the February 27 hearing that Corellium’s source code
   would be produced “in a useable format.” Hearing Tr. at 38:19–25. By producing source code
   outside of a software repository, Corellium’s source code production is lacking any contextual or
   versioning information. Corellium must produce its source code in its GitHub repository, or in
   whatever software repository Corellium uses in the ordinary course of its business. And because
   of these deficiencies, discussed in more detail below, Apple cannot assess whether Corellium’s
   source code production is complete. Apple therefore reserves the right to further address the
   adequacy of the source code Corellium has produced once the deficiencies below have been
   rectified.

           First, Apple’s RFPs defined source code to mean “computer code, scripts, assembly,
   binaries, object code, source code listings and descriptions of source code, object code and
   listings and descriptions of object code, Hardware Description Language (HDL), or Register
   Transfer Level (RTL) files that describe the hardware design of any ASIC or other chip, and


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   Computer Aided Design (CAD) files that describe the hardware design of any component.” ECF
   No. 68-1 at 3. Apple’s RFPs further specified that the term “source code” “includes all
   comments,” and that, to the extent the source code at issue is “maintained in a repository in the
   ordinary course of business,” “the full repository not any one version of the repository” shall be
   produced. Id. Corellium never objected to the form of source code production specified in
   Apple’s RFPs. To date, however, and despite Corellium’s representations to the Court,
   Corellium has not produced source code in conformity with Apple’s requests. Instead,
   Corellium produced individual source code files with no versioning, context, or description of
   how the individual source code files relate to each other, as would be provided in the full
   repository used by Corellium in its usual course of business.

           Second, the Protective Order that the parties agreed to and that governs this case requires
   Corellium to produce source code on a source code computer along with “tools that are sufficient
   for viewing and searching the code produced, on the platform produced, if such tools exist and
   are presently used in the ordinary course of the Producing Party’s business.” ECF 50 at 13–
   14. Corellium’s source code production to date also fails to comply with the Protective Order
   because it did not include the tools sufficient to view or search the source code on the platform
   Corellium uses in its usual course of business. For example, Apple is aware that Corellium uses
   the GitHub platform to store its publicly released code repositories. See https://github.com/
   corellium.                                                                                  . See,
   e.g., Correllium-014712. Corellium was therefore required, at a minimum, to produce its source
   code to Apple in its Github repository, or in another repository that it uses in the ordinary course
   of its business.

            Third, Federal Rule of Civil Procedure 34 further requires that documents be produced
   “as they are kept in the usual course of business” and, unless a request specifies a form for
   producing electronically stored information, “a party must produce it in a form or forms in which
   it is ordinarily maintained or in a reasonably usable form or forms.” Fed. R. Civ. P. 34(b)(2)(E).
   There is “no source code exception to the production requirements of Fed. R. Civ. P. 34.” Apple
   Inc. v. Samsung Elecs. Co., No. 11-cv-1846, 2012 WL 1595784, at *1 (N.D. Cal. May 4, 2012).
   As such, Corellium is obligated to produce the requested source code in the form in which it is
   ordinarily maintained or in a reasonably usable form. That is presumably why counsel for
   Corellium agreed to produce the requested source code “in a useable format.” Hearing Tr. (Feb.
   27. 2020) at 38:19–25. Despite making this commitment before the Court, Corellium still has
   not produced its source code in the requisite usable format. Rather, Corellium has produced
   random individual source code files completely separated from any repository—a form of
   production that is not “reasonably usable” in the context of source code review or analysis, and
   cannot possibly be the format in which Corellium maintains its codebase. See, e.g., Entrust
   Datacard Corp. v. Zeiser GmbH, No. 3:17-cv-110, 2019 WL 7423519, at *7 (M.D. Fla. Mar. 26,
   2019) (requiring source code to be produced “in native format, with all source code repository
   information and software for the same”).

          Corellium’s production of individual source code files outside of the context of the
   software repository—contrary to the RFPs, the PO, and the Federal Rules—severely prejudices
   Apple. The production of source code files without any context makes it impossible for Apple to


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   determine which version of a file it is reviewing, which build of the Corellium Apple Product the
   source code relates to, or even “whether the source code is a full and complete set of code
   representing any given version of the Corellium Apple Product.” Nieh Report ¶ 186; see id.
   ¶ 11.

            While Apple believes that Corellium should be able to readily resolve the issues related
   to its source code production, and is hopeful that Corellium’s provision of a source computer will
   do just that, Apple continues to be prejudiced by Corellium’s failure to produce the requisite
   source code to date, in the context of its native repository, and reserves its rights to seek fees and
   sanctions associated with Corellium’s failure in this regard. See Manchester v. Sivantos GmbH,
   No. 17-cv-5309, 2019 WL 1598755, at *2 (C.D. Cal. Mar. 12, 2019) (ordering source code
   repository be made available for inspection to review different versions of accused source code);
   Manchester v. Sivantos GmbH, No. 17-cv-5309, 2019 WL 2902489, at *4 (C.D. Cal. May 1,
   2019) (sanctioning party who failed to timely produce its source code repository).

   III.      CORELLIUM’S DEFICIENT DOCUMENT PRODUCTION

             A.        Corellium’s Overbroad And Improper Withholding Log

           Corellium’s withholding log, which it purports to be a privilege log, is grossly
   overinclusive. It has approximately 9860 unique entries, only 1820 of which are designated
   under classic privilege log categories: attorney-client privilege, attorney work product, joint
   defense privilege, and anticipation of litigation. Apple continues to analyze those classic entries
   in depth for any improprieties. But the remaining 8,040 documents assert no attorney-related
   privileges and must be produced immediately.

           As an initial matter, 46 documents on Corellium’s privilege log are withheld without any
   annotations at all, and thus must be produced. For the other 8,000 documents, Corellium
   withheld them exclusively under Trade Secret and Client Privacy objections. As Corellium
   recently recounted to Apple, no documents should be withheld “based on confidentiality as the
   parties have an agreed PO in place [D.E. 50].” Levine Ltr. at 2 (Mar. 8, 2020). Corellium
   withheld 7,000 documents based on Client Privacy alone.

           The Court has rejected Corellium’s trade secret objections and withholdings as to
   everything except (a) the source code for the hypervisor itself, Hearing Tr. (Feb. 27. 2020) at 98–
   99, and (b) Azimuth-related communications and a reseller agreement which are the subject of a
   pending motion to quash. Id. at 94, 100–101. Those two issues are slated for review at the
   March 16 hearing. Corellium’s proper solution for trade secret and privacy objections is not to
   unilaterally withhold documents on that basis, but rather to designate the documents under the
   confidentiality order (ECF No. 50) and produce them.

          Notably, documents Corellium withheld on the basis of trade secret objections alone
   include numerous documents that are obviously relevant to this litigation, including internal
   Corellium emails with subject lines like:

             •      Correllium-015532: [JIRA] (DEV-671) iPod Touch patcher crashes on iOS 10.x


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             •      Correllium-017806: [JIRA] (COR-214) Safari Crashes Springboard in iOS 11.2.5

             •      Correllium-017185: [JIRA] (COR-211) Onsite IPSW Storage

             •      Correllium-017266: [JIRA] (COR-493) Preferences crash on iPhone X iOS12 beta 1.

             •      Correllium-017420: [JIRA] (IOS-97) app install issue on iPhone 6s 11.3.1 non
                    jailbroken

         Similarly, Corellium withheld on the basis of privacy grounds alone a multitude of
   documents which are directly relevant to this litigation, with file names or subject lines like:

             •      Correllium-008131:           _iOS _On_Premise_Datasheet.pdf

             •      Correllium-008298: iOS_On- Prem_Price_Breakdown.pdf

             •      Correllium-006530: [Corellium] Re: Question about availability of IOS images

             •      Correllium-009218: Accepted: Android & iOS in the cloud - follow on discussion

             •      Correllium-013611: Accepted: Invitation: Virtual iOS@Wed Aug 28, 2019 3pm -
                    4pm (PDT)

             •      Correllium-007471: Accepted: iOS Virtualization Discussion with Corellium

             •      Correllium-011188: Contact iOS Simulator

             •      Correllium-007438: Corellium iOS Virtualization Demo

             •      Correllium-006498: Corellium - Security Bug

             •      Correllium-009792: FW: Corelli Demo for       -Virtual iOS - next step

             •      Correllium-005789: Fw: GPIT6647 Corellium Inc              iOS +60 Core Srvr +
                    SEP & iBoot Modules + Android Beta

             •      Correllium-011197: iOS Virtualization service inquiry

             •      Correllium-008512: Re: Corellium iOS emulator

            Even more significantly, the Court has twice rejected Corellium’s arguments for
   withholding customer, trial customer, and rejected customer information and communications
   (except as to Azimuth, which is reserved for decision until March 16). ECF No. 211 ¶ 4(i); ECF
   No. 206; ECF No. 153; Hearing Tr. (Feb. 27. 2020) at 94, 100–101. Yet Corellium’s privilege
   log lists thousands of communications with third-party customers, trial customers, and rejected
   customers which fall within the scope of the Court’s order. These include the following final
   executed agreements:

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                                  CORELLIUM AEO MATERIAL
             •      Correllium-004639: Purchase Agreement_          _Fully Executed.pdf

             •      Correllium-004740: Corellium Demo License Agreement_
                            _FullyExecuted.pdf

             •      Correllium-004677: Corellium Purchase and License Agreement_         .docx

             •      Correllium-009412: Corellium_Purchase_and
                    _License_Agreement_         _corellium_Executed.pdf

             •      Correllium-004644:        Purchase and License Agreement_ Fully Executed.pdf

             •      Correllium-004655: Final Corellium Purchase and License Agreement_
                               _Fully Executed.pdf

             •      Correllium-004667:      Purchase and License Agreement_ FULLY
                    EXECUTED.PDF

   Corellium also has not produced its license agreement with Azimuth, despite the Court requiring
   it to do so. See Hearing Tr. (Feb. 27. 2020) at 94, 100; ECF No. 211 ¶ 4(k). Instead, Corellium
   improperly included that agreement in its withholding log. See 3/4/2020 Privilege Log,
   Correllium-004620: Corellium-Azimuth License Agreement-Signed.pdf.

           Corellium also has not produced any reseller agreements despite the identification of
   numerous such agreements on Corellium’s purported privilege log, including with
                                        See 3/4/2020 Privilege Log, Correllium-008962,
   Correllium-009236, Correllium-004778. All reseller agreements except for the reseller
   agreement with Azimuth must be produced. ECF. No. 211 ¶ 4(k) (reserving ruling on whether
   Corellium must produce its reseller agreement with Azimuth Security).

           Of the customers Corellium previously identified in its interrogatory responses, it has
   withheld documents and communications for every single one of them on privacy and/or trade
   secret grounds alone. To illustrate, the following are known Corellium customers for whom it
   has withheld at least    documents:2

             •                     documents withheld

             •                    documents withheld

             •                      documents withheld




   2
     These are conservative estimates. The process of converting Corellium’s 2,200 page privilege
   log from PDF to Excel introduced a large number of spacing errors and typos. These estimates
   are based on word searches which, due to those errors, may undercount hits.

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             •             documents withheld

             •                      documents withheld

             •           documents withheld

          Corellium’s log also reveals large numbers of communications with trial or undisclosed
   customers also withheld on privacy and/or trade secret grounds. Entities for whom Corellium
   has withheld at least    documents include:

             •               documents withheld

             •                         documents withheld

             •               documents withheld

             •
                                                      documents withheld

             •                documents withheld

             •                documents withheld

             •                       documents withheld

          Furthermore, the promotional slide deck Corellium provided to Apple, and then Apple
   produced in this litigation, about Corellium’s then-current customers and prospects reveals
   numerous names that have not appeared in either Corellium’s productions or privilege log. See
   ECF No. 201-1 at 11. These include:

             •

             •

             •

             •

           The Court has made it crystal clear that all documents and communications about
   customers, trial customers, and affirmatively rejected customers must be produced. ECF No.
   211 ¶ 4(i); ECF No. 206; ECF No. 153; Hearing Tr. (Feb. 27. 2020) at 19, 21-22, 73-74. The
   only exceptions are for inquiries Corellium entirely ignored, and for Azimuth documents which
   are the subject of L3Harris’s pending motion to quash. ECF Nos. 184, 218. Everything else
   must be provided immediately, whether previously logged or not. Corellium must also serve an
   updated withholding log verifying the changes.



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              B.     Documents Missing From Corellium’s Productions

           In addition to the deficiencies that are obvious in light Corellium’s purported privilege
    log, Corellium’s productions themselves reveal numerous deficiencies.

            First, Corellium has not produced all responsive iMessages. Apple has produced over
    300 iMessages between Chris Wade and Ivan Krstić. Corellium, in contrast, has not produced
    any such messages even though Chris Wade was a participant in the communications, and even
    though Corellium has produced other iMessages from Chris Wade during the same time period.
    See, e.g., Correllium-019661. Similarly, Apple has produced several iMessages between Steve
    Smith and Chris Wade, but Corellium has produced only one exchange between Mr. Wade and
    Mr. Smith. All responsive iMessages that are in Corellium’s possession, custody, or control
    must be produced.

            Second, Corellium has not produced any internal technical documents such as design and
    architecture descriptions, or testing results and analyses. For example, Apple has produced
    emails containing what appears to be design documents and test results from Corellium. See
    APL-CORELLIUM_00036199 (email attaching files such as “GeneralArch1.pdf” and
    “corelluimlogicalv2.png”); APL-CORELLIUM_00036204 (attachment to above email showing
    Corellium architecture); APL-CORELLIUM_00036205 (same); APL-CORELLIUM_00036235
    (same); APL-CORELLIUM_00036236 (same); APL-CORELLIUM_00036230 (attachment to
    above email showing apparent results of Corellium’s testing). Corellium has not produced any
    equivalent documents displaying or describing any such architecture, design, or test. All internal
    technical and testing documents must be produced, at least with respect to all aspects of the
    Corellium Apple Product except the hypervisor. See Apple RFP Nos. 7–13, 15–16; ECF No.
    211 at 3.

            Third, Corellium’s production of customer-facing technical documents appears to be
    deficient. Corellium has apparently produced only one version of its User Guide, dated April
    2019. Correllium-014520. Searches in Corellium’s production for the terms “manual” or “faq”
    results in no customer-facing documents describing Corellium’s product and its operation.
    Corellium has produced versions of an “Advanced Customer Features” document, see
    Correllium-025432, Correllium-025417, but has not produced any other documents that describe
    “user features” or “customer features.” Similarly, Corellium appears to have produced only one
    user-facing document describing installation of only one version of the product. See Correllium-
    014463. All installation and user manuals for all versions of Corellium’s product must be
    produced. See Apple RFP Nos. 7–9, 14, 18–19; ECF No. 211 at 3.

              Fourth, with respect to the .zip files listed in Corellium’s production, the native .zip files
    were not in the production file Corellium served on February 24, and Corellium has still not
    produced the native files despite our emails notifying you of the issue. We understand that not
    all file types can be imaged, but the native .zip files are not in the “natives” subfolder or
    otherwise included in the served production. We have confirmed that this is not a review
    platform issue. Please provide the native .zip files or their complete contents, or confirm that all
    files that were contained in the referenced .zip files were already produced individually, and
    provide the corresponding Bates numbers for those individual files.


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            Fifth, Corellium has not produced all documents responsive to Apple’s requests that are
    within Corellium’s possession, custody, or control. For example, Exhibit 3 to Corellium’s
    February 24, 2020 Opposition to Apple’s Motion for a Protective Order Barring the Deposition
    of Apex Employee is a presentation about Corellium dated July 2018. ECF No. 175-3.
    Corellium has not produced this document or any documents related to its creation. Similarly,
    Exhibits 8–12 and 14 to the same opposition are iMessages between Chris Wade and Ivan Krstić
    produced by Apple, but not by Corellium. See APL-CORELLIUM_00018105, APL-
    CORELLIUM_00018148, APL-CORELLIUM_00035986, APL-CORELLIUM_00018508,
    APL-CORELLIUM_00018488, APL-CORELLIUM_00018302, APL-CORELLIUM_00018491,
    APL-CORELLIUM_00018494. And Exhibits 16–18, which are emails from 2014, are nowhere
    to be found in Corellium’s productions. The omission of these documents from Corellium’s
    productions to date raise serious questions about the completeness and thoroughness of
    Corellium’s searches and productions. Corellium must provide an explanation as to its search
    process in order to confirm an appropriate scope, and then immediately ensure that it has
    produced all responsive documents that are in its possession, custody, or control.

           Finally, Corellium has produced a very limited number of documents related to its
    revenues and profits. As stated in David Connelly’s expert report,

                                                                     Connelly Report at 2. As
    requested in Apple’s Requests for Production Nos. 49 and 52, Corellium must produce financial
    documentation sufficient to corroborate Corellium’s representations.

              C.     Corellium’s Failure To Preserve And Produce Responsive Communications

            Corellium’s production to date indicates that Corellium used Slack channels for internal
    communications regarding the development of the Corellium Apple Product and other
    responsive topics. Corellium has produced a small number of these communications, and a large
    majority of them are from after this litigation was initiated—in particular, from December 2019,
    January 2020, and February 2020. The relative lack of communications from earlier time
    periods leading up to and including this litigation, and including periods in which development
    of the Corellium Apple Product was ongoing, indicates that Corellium has failed to preserve
    and/or provide these communications.

            Additionally, among the messages Corellium has produced, Corellium has redacted
    significant portions of many of the Slack messages, with no indication on its purported privilege
    log that the documents have been redacted or whether the redacted portions constitute privileged
    information. Two examples among many are Correllium-025381 and Correllium-025401.
    Please provide unredacted versions of all Slack communications or update Corellium’s privilege
    log to justify their redaction.

             Corellium must provide all unproduced responsive communications and confirm whether
    it preserved all such communications consistent with its discovery obligations in this
    litigation. Apple reserves its rights to seek fees, sanctions, and other relief associated with any
    failure by Corellium in this regard. See, e.g., Brewer v. Leprino Foods Co., Inc., No. 1:16-cv-
    1091, 2019 WL 356657, at *10 (E.D. Cal. Jan. 29, 2019) (imposing sanctions, including fees and


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                            CORELLIUM CONFIDENTIAL MATERIAL
                                 CORELLIUM AEO MATERIAL
    costs, due to a party’s failure to preserve messages that could not be restored, and reserving the
    right to provide an adverse instruction to the jury).

                                                         ***

              We are available to meet and confer immediately.

                                                  Best regards,



                                                  Jessica Stebbins Bina




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